        Case 2:20-cv-00410-MKD           ECF No. 184         filed 06/30/22     PageID.3022 Page 1 of 2

                                UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF WASHINGTON

 ESTATE OF CINDY LOU HILL, by and through its                         Case No.   2:20-CV-0410-MKD
 personal representative, Joseph A. Grube,                            CIVIL MINUTES
                                        Plaintiff,                    DATE:     JUNE 30, 2022
        -vs-
                                                                      LOCATION: VIDEO CONFERENCE
 NAPHCARE, INC., an Alabama corporation; and
 SPOKANE COUNTY, a political subdivision of the
 State of Washington,                                                 PRETRIAL CONFERENCE
                                Defendants.


                                         HON. MARY K. DIMKE
                                                                                          Kimberly J. Allen
            Cora Vargas                                  LC 02
                                                                                          Crystal L. Hicks
        Courtroom Deputy                               Law Clerk                           Court Reporter
          Hank L. Balson                             Erin E. Ehlert
                                                                                           John E. Justice
          Edwin S. Budge                             Ketia B. Wick

         Plaintiff's Counsel             For Defendant NaphCare, Inc.             For Defendant Spokane County

       [ ] Open Court                          [ ] Chambers                              [ X ] ZOOM Video
All parties appearing via Zoom video.

Initial comments by Court re: proposed questions submitted by counsel and by Court for inclusion in a
supplemental jury questionnaire; Court and counsel discuss proposed questions and agree to a minor
modification.

Court and counsel discuss proposed voir dire and objections thereto.

Mr. Budge inquires as to the number of peremptory challenges allowed by each party; discussion between Court
and counsel; Court will rule on issue next Friday, July 8th.

Court informs counsel that all arguments and commentary shall be submitted in briefs on the record and not
through email to Chambers with proposed documents, and that all deadlines shall be followed.

Court provides examples of late objections to exhibits and rules on objections.

Court informs counsel of agenda for continuation of hearing in the afternoon.

Recess: 9:53 a.m.
Reconvene: 1:00 p.m.


[ X ] ORDER FORTHCOMING
 CONVENED:      9:00 A.M.       ADJOURNED:           9:53 A.M.
                1:00 P.M.                            1:59 P.M.
                                                                   TIME:      3:31 HR.      CALENDARED        [ ]
                2:05 P.M.                            2:56 P.M.
                2:59 P.M.                            3:47 P.M.
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Estate of Cindy Lou Hill, et al. -vs- NaphCare, Inc., et al.                                 June 30, 2022
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Pretrial Conference

Court rules on admissibility of expert opinions and clarifies previous rulings re: experts; colloquy between
Court and counsel re: clarification as to admissions and omissions of expert opinions.

Argument by Mr. Justice in support of Defendant Spokane County’s Objections to Plaintiff’s Deposition
Designations for Trial, ECF 121; response by Mr. Balson; Court rules on objections.

Argument by Mr. Balson in support of Plaintiff’s Objections to Defendants’ Deposition Designations and
Cross-Designations, ECF 118; response by Ms. Ehlert; Court rules on objections.

Recess: 1:59 p.m.
Reconvene: 2:05 p.m.

Court and counsel discuss Defendant NaphCare’s proposed exhibits/identifications; argument by Mr. Balson
and Ms. Ehlert; Court rules on objections in part.
Argument by Mr. Balson in support of Plaintiff’s objections to NaphCare’s Medical record exhibits (106A,
106B, 106C); response by Ms. Ehlert and Mr. Justice; rebuttal argument by Mr. Balson; Court reserves ruling
on Plaintiff’s objections to 106A, 106B and 106C. Mr. Balson withdrawals objection to 106D. Argument by
Mr. Balson in support of Plaintiff’s objection to NaphCare’s proposed exhibit 106E; response by Ms. Ehlert; no
objection to admissibility of exhibit by Mr. Justice; Court reserves ruling on Plaintiff’s objection to 106E.
Argument by Mr. Balson in support of Plaintiff’s objection to NaphCare’s proposed exhibit 106F; response by
Ms. Ehlert; no objection to admissibility of exhibit by Mr. Justice; Court reserves ruling on Plaintiff’s objection
to 106F.

Argument by Mr. Budge in support of Plaintiff’s objections to Spokane County’s proposed
exhibits/identifications; response by Mr. Justice; Court rules on Plaintiff’s objections in part and reserves ruling
in part.

Recess: 2:56 p.m.
Reconvene: 2:59 p.m.

Court, Ms. Wick, and Mr. Balson discuss redaction of proposed exhibit 13.

Argument by Mr. Balson, Ms. Ehlert, and Mr. Justice re: Jury Instructions.

Argument by Mr. Budge in opposition to juror questions during trial; argument by Ms. Wick and Mr. Justice in
support of juror questions during trial; Court will issue draft jury instructions next week, which will reflect the
Court’s ruling on this issue.

Court, Mr. Balson, and Ms. Ehlert discuss objections to witness and exhibit lists and rulings thereon.

Colloquy between Court and Ms. Wick re: content and disclosure of Dr. Maple’s testimony.
